            Case 8:17-cv-01582-DMG-JEM
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                                                                        CIVIL COVER SHEET

I.(a) PLAINTIFFS (Check box if you are representing yourself ~)                       DEFENDANTS             (Check box if you are representing yourself ~ )


           Laura Jung Mee Chung                                                     Behavioral Systems Southwest, Inc
(b) County of Residence of First Listed Plaintiff             Los Angeles County of Residence of First Listed Defendant Orange
(EXCEPT IN U.S. PLAINTIFF CASES)                                                      (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name,Address and Telephone Number) If you are                     Attorneys(Firm Name,Address and Telephone Number) If you are
 representing yourself, provide the same information.                                 representing yourself, provide the same information.
     Laura Jung Mee Chung
     2700 Neilson way, Apt 436

il. BASIS OF JURISDICTION (Place an X in one box only.)                       III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                   (Place an X in one box for plaintiff and one for defendant)
                                                                                                       PTF DEF                                   PTF DEF
     1. U.S. Government             ~ 3. Federal Question (U.S.               Citizen of This State    ~ 1 ~ ~ Incorporated or Principal Place   ~ 4 ~ 4
     Plaintiff                        Government Not a Party)                                                          of Business in this State
                                                                              Citizen of Another State   ~ 2 ~ 2           Incorporated and Principal Place      ❑ 5 ~ 5
                                                                                                                           of Business in Another State
     2. U.S. Government             ~4. Diversity (Indicate Citizenship       Citizen or Subject of a        3         3   Foreign Nation                       ~ 6 ~ 6
     Defendant                          of Parties in Item III)               Foreign Country            ~       ~

IV. ORIGIN (Place an X in one box only.)                                                                                                                   s. nnult~d~scr~ct
                                                                                                                                  6. nnultidistrict
      1.Original   ❑ 2. Removed from         ❑ 3. Remanded from ❑ 4. Reinstated or   5. Transferred from Another                     Litigation -             Litigation -
        Proceeding     State Court               Appellate Court     Reopened      ~    District (Specify)       ~                   Transfer          ~      Direct File


V.REQUESTED IN COMPLAINT: JURY DEMAND: ~ Yes ~ No                                       (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23:                    ~ Yes ~ No                     ~ MONEY DEMANDED IN COMPLAINT: $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

 42 U.S. Code subsection. 1983 Civl action for deprivation of rights
VII. NATURE OF SUIT (Place an X in one box only).
                          —                 —                                                                                                         PROPERTY RIGHTS
                                                                                                                                                                       ---
     ~THER STRTUTES                 CONTRACT            REAL PROPERTY CdNT:           IMMIGRATION             PRISON~R`PETi7IONS

     375 False Claims Act    ❑ > >0 Insurance          ~ 240 Torts fo Land      ~ 462 Naturalization             Habeas Corpus:             ~ 820 Copyrights
                                                                                  Application
    376 Qui Tam              ~ 720 Marine              ❑ 245 Tort Product                             ~ 463 Alien Detainee                  ~ 830 Patent
                                                           Liability              465 Other             510 Motions to Vacate
    (31 USC 3729(a))                                   ~ 290 All Other Real     ~ Immigration Actions ❑ Sentence                              835 Patent -Abbreviated
                                   130 Miller Act
     400 State                                             Property                    TORTS     ~    ~ 530 General                         ~ New Drug Application
                            140 Negotiable
     Reapportionment      ❑ Instrument                          TORTS           PERSONAL PROPERTY ~ 535 Death Penalty                       ~ 840 Trademark
    410 Antitrust                                       PERSONAL'INJURY         ❑        -                                                            SOCtALSECUftITY
❑                           150 Recovery of              -. -                     370 Other Fraud              Other:
❑   430 Banks and Bankin9 ❑ Overpayment &              ~ 310 Airplane                                                                       U tsb I HIA (1 sy5tt~
                            Enforcement of                                   ~ 371 Truth intending ~ 540 Mandamus/Other
                                                        315 Airplane
    450 Commerce/ICC        Judgment                  ~ Product Liability                                                       ~ 862 Black Lung (923)
     Rates/Etc.                                                                380 Other Personal ❑ 550 Civil Rights
                          ❑ 151 Medicare Act          ~ 320 Assault, Libel & ~ Property Damage       ~ 555 Prison Condition     ~ 863 DIWC/DIWW (405 (g))
    460 Deportation                                     Slander
                            152 Recovery of                                    3g5 ProPerty Dama9e      560 Civil Detainee      ~ 864 SSID Title XVI
    470 Racketeer InFlu-                                330 Fed. Employers' ❑ product Liability
❑                                                                                                    ❑ Conditions of
     enced &Corrupt Org.  ❑ Defaulted Student         ❑ Liability                                                               ~ 865 RSI (405 911
                            Loan (Exd. Vet.)                                    BANKRUPTCY              Confinement
❑   480 Consumer Credit                               ~ 340 Marine                     --
    490 Cable/Sat N         153 Recovery of                                    42t Nppeal tt3~        FORFEITURE/PENALTY            FEDERAL TAX SUITS'
❑                                                       345 Manne Product
                            Overpayment of            ~ Liability            ~ USC 158                 625 Drug Related           g70 Taxes (U.S. Plaintiff or
    850 Securities/Com-   ~ Vet. Benefits                                      423 Withdrawa128 ~ Seizure of Property 21        ❑ Defendant)
     modities/Exchange                                ~ 350 Motor Vehicle      USC 157                  USC 881
                            160 Stockholders'                                                                                     871 IRS-Third Party 26 USC
    890 Other Statutory   ~ Suits                     ~ 355 Motor Vehicle        CIVIL RIGHTS'       ❑ 690 Other                ❑ 7609
     Actions                                            Product Liability                                             - --
                                                                               ~0 Other Civil Rights          ~BOR
    891 Agricultural Acts
                            190 Other                   360 Other Personal ❑
                            Contract                  ~ Injury               ~ 441 Voting              710 Fair Labor Standards
    893 Environmental                                                                                  Act
                            195 Contract                361 Personal Injury-
    Matters               ~ Product Liability         ❑ Med Malpratice       ❑442 Employment         ~ 720 Labor/M9mt.
    895 Freedom of Info.                                                       443 Housing/            Relations
❑   Act                   ❑ 196 Franchise
                                                        365 Personal Injury-
                                                      ~ Product Liability      Accommodations
                                                                                                     ~ 740 Railway Labor Act
    896 Arbitration        REAL PROPERTY                                       ~5 American with
                                                        367 Health Care/
                                                                             ❑ Disabilities-         ~ 751 Family and Medical
                               210 Land                 Pharmaceutical                                 Leave Act
    899 Admin. Procedures ~ Condemnation              ~ Personal Injury        Employment
    AcVReview of Appeal of                              Product Liability      446 American with       790 Other Labor
                                   Foreclosure
    Agency Decision          ~ 220                                           ~ Disabilities-Other    ~ Litigation
                                                        368 Asbestos
    950 Constitutionality of   230 Rent Lease &       ~ personal In'u                                   791 Employee Ret. Inc.
                                                                   J ~Y      ~ 448 Education         ❑ SecuritY Act
    State Statutes             Ejectment                Product Liabilit

FOR OFFICE USE ONLY:                     Case Number:      J~ ~~                      ~ ~ 1
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               Case 8:17-cv-01582-DMG-JEM         Document
                               UNI l tU 5iATtS DISTRICT      1-1
                                                        COURT,    Filed
                                                              CENTRAL   09/12/17
                                                                      DISTRICT      Page 2 of 3 Page ID #:8
                                                                               OF CALIFORNIA
                                                                                       CIVIL COVER SHEET


VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change,in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?                                                      S-CAfE~JISE W~5 PENDR~IG IN THE COUNIY ~F: _             _                     INfTIAL DIVISION W CACD IS:
                                                                ~               ,_                                ::
               Yes ~ No                                                                           ------ —                                                                          —
                                                             Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                              Western
If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the         ❑Orange                                                                                                         Southern
corresponding division in response to
Question E, below, and continue from there. ❑ Riverside or San Bernardino                                                                                         Eastern



QUESTION B: Is the United States, or 8.7. Do SO~o or more of the defendants who reside in                            YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,a   the district reside in Orange Co.?                                            ~ Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                            from there.
                                     check one o([he boxes to the right  ~~
                Yes [~ No
                                                                                                                   ~ NO. Continue to Question 6.2.

                                                       6.2. Do SO% or more of the defendants who reside in               YES. Your case will initially be assigned to the Eastern Division.
If"no,"skip to Question C. If"yes," answer             the district reside in Riverside and/or San Bernardino            Enter "Eastern" in response to Question E, below, and continue
Question B.i, at right.                                Counties? (Considerthe two counties together.)                    from there.

                                                       check one ofthe boxes to the right          ~►                    NO. Your case will initially be assigned to the Western Division.
                                                                                                                         Enter "Western" in response to Question E, below, and continue
                                                                                                                         from there.


QUESTION C: Is the United States, or C.1. Do 50%or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                         ~ Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                     from there.
                                     check one of the boxes to the right ~♦
                 Yes ~ No
                                                                                            ~ NO. Continue to Question C.2.

                                                       C.2. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer         district reside in Riverside and/or San Bernardino      ~ Enter "Eastern" in response to Question E, below, and continue
Question C.7, at right.                                Counties? (Consider the two counties together.)           From there.

                                                       check one oftheboxes fothe right            ~~                    NO. Your case will initially be assigned to the Western Division.
                                                                                                                         Enter "Western" in response to Question E, below, and continue
                                                                                                                         from there.
                                                                       — — --                                                         — -- — ---- --

                             '           ~"                                                                        ~                     Riverside or Sin            Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?
                                                                                                              Orangt'~County.`          6ernardino County            Sang Earbara, or San
                                                                        "                                                                                             Luis Ubispo County

Indicate the locations) in which SO% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

Indicate the locations) in which 50% or more of defendants who reside in this                                      ~                             ❑                              ❑
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)


                  D.1. Is there at least one answer in Column A?                                                  D.2. Is there at least one answer in Column B?

                                             Yes       ~ No                                                                          ~ Yes          ~ No

                       If "yes," your case will initially be assigned to the                                           If "yes," your case will initially be assigned to the
                                     SOUTHERN DIVISION.                                                                              EASTERN DIVISION.

      Enter "Southern" in response to Question E, below,and continue from there.                                       Enter "Eastern" in response to Question E, below.

                             If"no," go to question D2 to the right.           ~]                               If"no,"your case will be assigned to the WESTERN DIVISION.

                                                                                                                       Enter "Western" in response to Question E, below.                ,',.

   --                                                                                —                                               -
QUESTION E: Initial Division?                                                                                      -          'INITIAL DIVISION W CF~CD

E►,« < <~,E, ~ ~,~u~~ ~~~~~,~<~~, <~~rN~~„~~,c~~ t~ v ~~ ~~,~>t~~~~, n, ~;, c, ~~~ ~ ,~r~~~~, ~: --►                         Southern Division
QUESTION F: Northern Counties?

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                   ~ Yes             ~ No

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                                                                            CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                  ~ NO                 ~ YES

         If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal cases) previously filed in this court?
                                                                                                                                                    NO             ~ YES
         If yes, list case number(s):



         Civil cases are related when they (check all that apply):

                     A. Arise from the same or a closely related transaction, happening, or event;

                     B. Catl for determination of the same or substantially related or similar questions of law and fact; or

                     C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



         A civil forfeiture case and a criminal case are related when they (check all that apply):

                     A. Arise from the same or a closely related transaction, happening, or event;

                     B. Call for determination of the same or substantially related or similar questions of law and fact; or
                     C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                     labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(ORSELF-REPRESENTED LITIGANT):                                                                                                     DATE:             ~        ! / '~

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code        Abbreviation                   Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        867                        HIA             include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. 1935fF(b))

        862                        BL              All claims for "Black Lung" benefits underTitle 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                        DIWC
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                        DIWW
                                                   amended. (42 U.S.C. 405 (g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
        864                        SSID
                                                   amended.

        865                        RSI             All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 U.S.C. 405 (g))




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